       Case 1:21-cr-02032-SMJ      ECF No. 25     filed 10/07/21    PageID.77 Page 1 of 3




 1                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 2                        The Honorable Judge Salvador Mendoza, Jr.
 3   United States of America,
 4                                  Plaintiff,         No. 1:21-cr-2032-SMJ
 5
           v.                                          Joint Proposed Case
 6                                                     Management Deadlines
     Thomas Alex Morrison, Jr.,
 7
                                  Defendant.
 8
 9         Thomas Alex Morrison, Jr., by and through his attorney and the government,
10
     submits the following Joint Proposed Case Management Deadlines:
11
12    Rule 16 expert summaries produced to
      other parties and email to Court:
13
            USAO’s Experts                        December 22, 2021
14
15          Defendant’s Experts                   December 29, 2021

16          USAO’s Rebuttal Experts               January 5, 2022
17
      All pretrial motions, including discovery   December 29, 2021
18    motions, Daubert motions, and motions
19    in limine, filed
      PRETRIAL CONFERENCE Deadline                January 19, 2022
20                                                9:30 AM – YAKIMA
      for motions to continue trial
21    CI’s identities, and willingness to be      January 31, 2022
22    interviewed disclosed to Defendant
      Grand jury transcripts disclosed to
23    Defendants:
24            Case Agent                          January 31, 2022
              CIs                                 January 31, 2022
25
              Other witnesses                     January 31, 2022


     Joint Proposed Case Management Deadlines - 1
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 1   Exhibit lists filed and emailed to Court       February 4, 2022
 2   Witness lists filed and emailed to Court       February 4, 2022
 3
     Trial briefs, requested voir dire,             February 4, 2022
 4   proposed jury instructions and verdict
 5   forms filed and emailed to Court
 6
     Delivery of JERS-compatible digital            February 4, 2022
 7   evidence files to the Courtroom Deputy
 8   Trial notices filed with the Court             February 4, 2022

 9   Technology readiness meeting (in-              February 7, 2022
     person)
10
     JURY TRIAL                                     February 14, 2022
11                                                  9:00 AM – YAKIMA
12        Dated: October 7, 2021.
13
                                                Respectfully Submitted,
14
                                                s/Paul Shelton
15                                              Paul Shelton, 52337
16                                              Attorney for Thomas Alex Morrison, Jr.
                                                Federal Defenders of Eastern
17                                              Washington and Idaho
                                                306 East Chestnut Avenue
18                                              Yakima, Washington 98901
                                                (509) 248-8920
19                                              (509) 248-9118 fax
                                                Paul_Shelton@fd.org
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25



     Joint Proposed Case Management Deadlines - 2
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 1                             CERTIFICATE OF SERVICE

 2         I hereby certify that on October 7, 2021, I electronically filed the foregoing
 3   with the Clerk of the Court using the CM/ECF System, which will send notification
 4
     of such filing to the following: Michael D. Murphy, Assistant United States Attorney.
 5
 6
 7                                           s/Paul Shelton
                                              Paul Shelton, 52337
 8
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     Joint Proposed Case Management Deadlines - 3
